Case: 2:04-cv-00263-MHW-KAJ Doc #: 148 Filed: 01/13/15 Page: 1 of 6 PAGEID #: 9180




                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF OHIO
                                EASTERN DIVISION

JOHN C. STOJETZ,

              Petitioner,
                                                    Case No. 2:04-cv-263
       v.                                           JUDGE GREGORY L. FROST
                                                    Magistrate Judge Norah McCann King
TODD ISHEE, Warden,

              Respondent.

                                   OPINION AND ORDER

       Petitioner, a prisoner sentenced to death by the State of Ohio, brought a habeas corpus

action under 28 U.S.C. § 2254. On September 24, 2014, this Court issued final judgment,

dismissing the action with prejudice. (ECF No. 140.) This matter is before the Court on

Petitioner’s Motion to Alter and Amend Pursuant to Fed. R. Civ. P. 59(E) (ECF No. 141),

Respondent’s Opposition (ECF No. 143), Petitioner’s Reply (ECF No. 144), and Petitioner’s

Notice of Additional Authority (ECF No. 147).

       On September 24, 2014, this Court issued a 232-page Opinion and Order considering and

rejecting Petitioner’s habeas corpus claims. (ECF No. 139.) In so doing, the Court considered

the Petition (ECF No. 14), Respondent’s Return of Writ (ECF No. 21), Petitioner’s

Memorandum in Support (ECF No. 93), Respondent’s Merits Brief (ECF No. 101), Petitioner’s

Amendment to the Petition (ECF No. 130), Respondent’s Amended Return of Writ (ECF No.

134), and Petitioner’s Amended Traverse (ECF No. 137). This Court likewise reviewed and re-

reviewed the state court record totaling 5,844 pages. (ECF Nos. 131, 132, 133.) That apparently

was not enough.


                                                1
Case: 2:04-cv-00263-MHW-KAJ Doc #: 148 Filed: 01/13/15 Page: 2 of 6 PAGEID #: 9181




       Among the claims that this Court considered and rejected on the basis of the voluminous

materials set forth above were claims challenging trial counsel’s failure to object to the

prosecution’s exercise of peremptory challenges (ground one), trial counsel’s failure to address

during voir dire matters of race and racism (ground three), the trial court’s denial of access to

grand jury materials (ground five), and trial counsel’s failure to inquire about jurors’ possible

exposure to a damaging newspaper article (ground six). Petitioner asks the Court to reconsider

and then alter or amend its judgment on those claims, explaining that the Court committed

manifest error of law as to all four. (ECF No. 141.) Characterizing Petitioner’s motion as

“nothing more than [an] attempt to delay his habeas appeal,” Respondent urges this Court to

issue “a speedy and summary denial of this motion.” (ECF No. 143, at Page ID # 9148.)

       Federal courts may grant a Fed. R. Civ. P. 59(e) motion to alter or amend only “if there is

a clear error of law, newly discovered evidence, an intervening change in controlling law, or to

prevent manifest injustice.” GenCorp, Inc. v. Am. Int’l Underwriters, 178 F.3d 803, 834 (6th

Cir. 1999) (citations omitted). The Sixth Circuit has made clear that a Rule 59(e) motion “is not

an opportunity to re-argue a case.” Sault Ste. Marie Tribe of Chippewa Indians v. Engler, 146

F.3d 367, 374 (6th Cir. 1998). This Court adheres to the principle that a motion to alter or

amend is an extraordinary remedy that, in deference to the interests of finality and conservation

of judicial resources, courts should only sparingly grant. American Textile Mfrs. Institute, Inc. v.

The Limited, Inc., 179 F.R.D. 541, 547 (S.D. Ohio 1997).

       One of the myriad of claims Petitioner included in his first ground for relief was that his

trial attorneys were ineffective for failing to object to the prosecutor’s alleged use of peremptory

challenges to strike women from the jury panel. The Court rejected Petitioner’s claim, noting


                                                  2
Case: 2:04-cv-00263-MHW-KAJ Doc #: 148 Filed: 01/13/15 Page: 3 of 6 PAGEID #: 9182




that its focus was not on the prosecutor’s alleged misconduct but on counsel’s alleged

ineffectiveness and that the record established neither deficient performance nor prejudice. (ECF

No. 139, at Page ID # 8993-99.) Petitioner asserts that this Court committed two manifest errors

of law, first by accepting Respondent’s offer of gender-neutral explanations underlying the

peremptory challenges and then by not finding that ineffective assistance of postconviction

counsel constituted cause and prejudice to excuse Petitioner’s failure to develop or even raise

these allegations. Petitioner’s arguments fall woefully short of meeting the standard for Rule

59(e) relief.

        Contrary to Petitioner’s assertion, this Court did not merely “accept” Respondent’s offer

of gender-neutral justifications for the peremptory challenges. (ECF No. 141, at Page ID # 9132-

34.) The Court actually reviewed the record for itself, cited to that record, and nowhere in its

reasoning credited Respondent’s gender-neutral explanations as a basis for the Court’s rejection

of Petitioner’s claim. (ECF No. 139, at Page ID # 8998-99.) Further, Petitioner’s emphasis on

Batson v. Kentucky, 476 U.S 79 (1986), and J.E.B. v. Alabama, 511 U.S. 127 (1994), is wholly

misplaced, in view of the fact that the claim before this Court was not a claim of Batson-based

prosecutorial misconduct, but a claim of ineffective assistance of trial counsel.

        Also contrary to Petitioner’s complaint that this Court did not give him a fair opportunity

to explain his utter failure to develop the record on these allegations, this Court did consider and

reject Petitioner’s argument that ineffective assistance of postconviction counsel constituted

cause and prejudice to excuse the default of any postconviction claims that were not raised or

developed. (ECF No. 139, at Page ID # 9083-84.) Petitioner’s renewed insistence otherwise

provides no basis for the extraordinary remedy of Rule 59(e) relief.


                                                 3
Case: 2:04-cv-00263-MHW-KAJ Doc #: 148 Filed: 01/13/15 Page: 4 of 6 PAGEID #: 9183




       Petitioner asserted in his third ground for relief that his attorneys were ineffective for

failing to voir dire prospective jurors about issues of race, racism, and bias stemming from

Petitioner’s membership in the Aryan Brotherhood. The Court rejected Petitioner’s claim,

finding that the absence of any evidence suggesting that one or more jurors were racially biased

left Petitioner unable to demonstrate either prejudice from counsel’s conduct or unreasonably

deficient performance on counsel’s part. (ECF No. 139, at Page ID # 9014-15.)

       Relying on Turner v. Murray, 476 U.S. 28 (1986), Petitioner asserts that this Court

committed manifest error of law by not making the starting point of its analysis the Supreme

Court’s recognition of the importance of addressing racism and racial bias in a capital case when

the facts of the case dictate. (ECF No. 141, at Page ID # 9139.) Petitioner’s argument misses

the mark and falls startlingly short of providing a basis for Rule 59(e) relief. Turner is

inapposite. In holding that “a capital defendant accused of any interracial crime is entitled to

have prospective jurors informed of the race of the victim and questioned on the issue of racial

bias[,]” nowhere did the Supreme Court address counsel’s duty in this regard; rather, it granted

relief on the basis of the trial judge’s refusal upon the accused’s request to question prospective

jurors about racial prejudice. Turner, 476 U.S. at 29, 36-37.

       Nor does Petitioner’s notice of additional authority support Rule 59(e) relief. Petitioner

fails to explain, and the Court cannot otherwise fathom, how the Supreme Court’s distinction in

Warger v. Shauers, 135 S.Ct. 521, 529-30 (2014), between “external” and “internal” information

for purposes of determining whether Fed. R. Evid. 606(b)(2)(A) precludes admission of a juror

affidavit somehow bolsters Petitioner’s claim. Nothing in Petitioner’s arguments establishes

manifest error of law sufficient to compel or permit altering this Court’s judgment.


                                                  4
Case: 2:04-cv-00263-MHW-KAJ Doc #: 148 Filed: 01/13/15 Page: 5 of 6 PAGEID #: 9184




       Petitioner argued in his fifth ground for relief that the trial court erred in denying him

access to the grand jury proceedings that resulted in not only his indictment but also those of his

accomplices. The Court rejected Petitioner’s claim, finding that the speculative nature of his

suggestion that the grand juries received evidence supporting multiple theories of culpability fell

far short of meeting the “particularized need” standard for gaining access to traditionally secret

grand jury proceedings. (ECF No. 139, at Page ID # 9022-23.) For the same reasons, the Court

found that Petitioner did not meet the “good cause” for habeas corpus discovery. Petitioner

asserts that the Court committed manifest error of law when it held Petitioner to a merits

standard in denying his discovery request for the grand jury materials. (ECF No. 141, at Page ID

# 9144.) That argument is not new, is not based on an intervening change in law, and is not

targeted at preventing manifest injustice. It accordingly falls outside the scope of Rule 59(e).

       In his sixth ground for relief, Petitioner asserted trial court error and ineffective assistance

of counsel concerning the failure to question whether any members of Petitioner’s jury had been

exposed to a newspaper article attributing to Petitioner (inaccurately according to Petitioner) a

damaging incriminating statement. This Court rejected Petitioner’s claim because Petitioner had

not shown and the Court could not presume that any member of Petitioner’s jury was exposed to

the newspaper article in question, especially considering that the trial court had repeatedly

admonished the jury not to read or watch any news coverage about the trial. (ECF No. 139, at

Page ID # 9026-27.) In seeking the extraordinary remedy of Rule 59(e) relief, Petitioner asserts

that “[t]he State should not be allowed to have it both ways; i.e., the presumption is only good so

long as there are no questions about a jury’s exposure to potential prejudicial information.”

(ECF No. 141, at Page ID # 9145.) Because trial attorney Jon Doughty testified during


                                                  5
Case: 2:04-cv-00263-MHW-KAJ Doc #: 148 Filed: 01/13/15 Page: 6 of 6 PAGEID #: 9185




postconviction proceedings that he had not reviewed the article, Petitioner further asserts that

“the factual premise upon which this Court relied, a fear that it would draw attention to the

article, is rebutted by the record.” (Id. at Page ID # 9145.) These two points, according to

Petitioner, establish that this Court committed a manifest error of law in rejecting Petitioner’s

claim. Petitioner’s argument tests the limits not only of credulity but also of this Court’s

patience.

       For the foregoing reasons, the Court DENIES Petitioner’s Motion to Alter and Amend

Pursuant to Fed. R. Civ. P. 59(E). (ECF No. 141.) This Court devoted 232 pages of

consideration to Petitioner’s claims. As Petitioner has provided no basis warranting more, the

Court invites Petitioner to address any arguments challenging this Court’s disposition of his

action where they belong: on appeal to the Sixth Circuit.

       IT IS SO ORDERED.

                                                        /s/ Gregory L. Frost
                                                      GREGORY L. FROST
                                                      UNITED STATES DISTRICT JUDGE




                                                 6
